                                                                                    · U.S. DISTRICT COURT
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                                           Northern District of Texas
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                                             Fort Worth Division                                            J
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 UNITED STATES OF AMERICA                                      §                  BY------~~---------
                                                                                          Deputy
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 v.                                                            §               Case Number: 4:17-CR-053-A(01)

 JOSE RAMIREZ                                                  §


                                 JUDGMENT IN A CRIMINAL CASE

       The government was represented by Assistant United States Attorney Brian Poe. The
defendant, JOSE RAMIREZ, was represented by Federal Public Defender through Assistant
Federal Public Defender Michael A. Lehmann.

        The defendant pleaded guilty on April28, 2017 to the one count superseding information
filed on April24, 2017. Accordingly, the court ORDERS that the defendant be, and is hereby,
adjudged guilty of such count involving the following offense:

 Title & Section I Nature of Offense                                            Date Offense Concluded   Count
 21 U.S.C. § 841(a)(l) and (b)(l)(C)                                            March 7, 2017            1
 Possession with Intent to Distribute a Controlled Substance


        On motion of the United States, the court ORDERS as to this defendant that the indictment
be, and is hereby, dismissed.

         As pronounced and imposed on August 11, 2017, the defendant is sentenced as provided
in this judgment.

       The court ORDERS that the defendant immediately pay to the United States, through the
Clerk ofthis Court, a special assessment of$100.00.

         The court further ORDERS that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence address, or mailing address, as set
forth below, until all fines, restitution, costs, and special assessments imposed by this Judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court, through the clerk
of this court, and the Attorney General, through the United States Attorney for this district, of
any material change in the defendant's economic circumstances.

                                              IMPRISONMENT

       The court further ORDERS that the defendant be, and is hereby, committed to the
custody ofthe United States Bureau of Prisons to be imprisoned for a term of 180 months.

        The defendant is remanded to the custody of the United States Marshal.



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                                   SUPERVISED RELEASE

       The court further ORDERS that, upon release from imprisonment, the defendant shall be
on supervised release for a term of three (3) years and that while on supervised release, the
defendant shall comply with the following conditions:

1.     The defendant shall not commit another federal, state, or local crime.

2.     The defendant shall not unlawfully possess a controlled substance.

3.     The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation
       Officer, as authorized by the Justice for All Act of 2004.

4.     The defendant shall refrain from any unlawful use of a controlled substance, submitting
       to one drug test within 15 days of release from imprisonment and at least two periodic
       drug tests thereafter, as directed by the probation officer pursuant to the mandatory drug
       testing provision of the 1994 crime bill.

5.     The defendant shall participate in a program approved by the probation officer for
       treatment of narcotic or drug or alcohol dependency that will include testing for the
       detection of substance use, abstaining from the use of alcohol and all other intoxicants
       during and after completion of treatment, contributing to the costs of services rendered at
       the rate of at least $25 per month.

6.     The defendant shall also comply with the Standard Conditions of Supervision as
       hereinafter set forth.


                               Standard Conditions of Supervision

1.     The defendant shall report in person to the probation office in the district to which the
       defendant is released within seventy-two (72) hours of release from the custody ofthe
       Bureau of Prisons.

2.     The defendant shall not possess a firearm, destructive device, or other dangerous weapon.

3.     The defendant shall provide to the U.S. Probation Officer any requested financial
       information.

4.     The defendant shall not leave the judicial district where the defendant is being supervised
       without the permission of the Court or U.S. Probation Officer.

5.     The defendant shall report to the U.S. Probation Officer as directed by the court or U.S.
       Probation Officer and shall submit a truthful and complete written report within the first
       five (5) days of each month.

6.     The defendant shall answer truthfully all inquiries by the U.S. Probation Officer and
       follow the instructions of the U.S. Probation Officer.

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7.      The defendant shall support his dependents and meet other family responsibilities.

8.      The defendant shall work regularly at a lawful occupation unless excused by the U.S.
        Probation Officer for schooling, training, or other acceptable reasons.

9.      The defendant shall notify the probation officer at least ten (1 0) days prior to any change
        in residence or employment.

10.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any narcotic or other controlled substance, or any
        paraphernalia related to such substances, except as prescribed by a physician.

11.     The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered.

12.     The defendant shall not associate with any persons engaged in criminal activity, and shall
        not associate with any person convicted of a felony unless granted permission to do so by
        the U.S. Probation Officer.

13.     The defendant shall permit a probation officer to visit him at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view by the
        U.S. Probation Officer.

14.     The defendant shall notify the probation officer within seventy-two (72) hours of being
        arrested or questioned by a law enforcement officer.

15.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court.

16.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant's criminal record or personal history or
        characteristics, and shall permit the probation officer to make such notifications and to
        confirm the defendant's compliance with such notification requirement.

       The court hereby directs the probation officer to provide defendant with a written
statement that sets forth all the conditions to which the term of supervised release is subject, as
contemplated and required by 18 U.S.C. § 3583(±).




         The court did not order a fine because the defendant does not have the financial resource
or future earning capacity to pay a fine.




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                                STATEMENT OF REASONS

        The "Statement of Reasons" and personal information about the defendant are set forth
on the attachment to this judgment.

       Signed this the 11th day of August, 2017.




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                                           RETURN

I have executed the imprisonment part of this Judgment as follows:




Defendant delivered on -------------- , 2017 to ------------------------------
at---------------------------------------' with a certified copy of this Judgment.


                                            United States Marshal for the
                                            Northern District of Texas

                                            By ________________________________
                                              Deputy United States Marshal




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